       Case 1:21-cr-00175-TJK Document 285-18 Filed 02/07/22 Page 1 of 4




                                                       U.S. Department of Justice

                                                       Matthew M. Graves
                                                       United States Attorney

                                                       District of Columbia

                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530




                                                       February 4, 2022

Via Email and Electronic File Transfer


 Lisa Costner                                     Carmen D. Hernandez
 Ira Knight                                       7166 Mink Hollow Road
 Federal Public Defender MDNC                     Highland, MD 20777
 251 N. Main St. Suite 849
 Winston-Salem NC 27101

 J. Daniel Hull                                   Nicholas Smith
 Hull McGuire PC                                  7 East 20th Street
 888 Seventeenth Street, NW                       Suite 4R
 Suite 1200                                       New York, NY 10003
 Washington, DC 20006

                Re:   United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

       I write to memorialize another production related to the above-captioned case as part of the
government’s efforts to produce preliminary discovery on an ongoing basis. Today the
government produced a fourth round of materials from Mr. Rehl’s case file maintained by the
Federal Bureau of Investigation (FBI). The materials described herein have been made available
for download in the Cross Discovery folder on USAfx, and an index is provided with the
production.

       Please note that the file names bear the titles as assigned by the FBI’s electronic systems.
This production includes grand jury subpoena material, some of which were previously produced
by the U.S. Attorney’s Office (see production of July 9, 2021). Given the personal identification
information and financial information contained in those materials, certain of those have been
designated HIGHLY SENSITIVE, except as to the individual to whom the information pertains.
       Case 1:21-cr-00175-TJK Document 285-18 Filed 02/07/22 Page 2 of 4




Consistent with other cross-discovery productions, all other materials are designated SENSITIVE
except as to defendant Rehl.

         Please let us know if you have been unable to access and download the materials for your
use in this case. To assist our future productions of discovery, we would again request that you
return external hard drives that we have supplied, once you have had an opportunity to copy the
materials.

       We understand that our discovery obligations are ongoing and intend to supplement our
disclosures on a rolling basis. If you have any questions, please do not hesitate to contact us.

                                                    Sincerely yours,

                                                    MATTHEW M. GRAVES
                                                    UNITED STATES ATTORNEY

                                            By:            /s/
                                                    Luke M. Jones
                                                    Assistant United States Attorney
                                                    555 4th Street, N.W.
                                                    Washington, D.C. 20530
                                                    (202) 252-7066
                                                    Luke.jones@usdoj.gov




                                               2
       Case 1:21-cr-00175-TJK Document 285-18 Filed 02/07/22 Page 3 of 4




                  Index of Production of Rehl FBI Files on February 4, 2022

Highly Sensitive Files are identified below and are being produced in a separate folder. All
other files are designated Sensitive, except as to defendant Rehl, as described in the discovery
correspondence.

  Serial Number    File Name                                                       Highly
                                                                                   Sensitive
       80          0176-PH-3400577_0000080.pdf
       80          0176-PH-3400577_0000080_1A0000006_0000001.zip
       81          0176-PH-3400577_0000081.pdf
       81          0176-PH-3400577_0000081_1A0000034_0000001.pdf
       82          0176-PH-3400577_0000082.pdf
       83          0176-PH-3400577_0000083.pdf                                     Yes
       83          0176-PH-3400577_0000083_1A0000054_0000001.zip                   Yes
       83          0176-PH-3400577_0000083_1A0000055_0000001.zip                   Yes
       85          0176-PH-3400577_0000085.pdf
       85          0176-PH-3400577_0000085_Import.pdf
       87          0176-PH-3400577_0000087.pdf
       87          0176-PH-3400577_0000087_1A0000035_0000001.pdf
       88          0176-PH-3400577_0000088.pdf
       89          0176-PH-3400577_0000089.pdf
        1          0176-PH-3400577-GJ_0000001.pdf
        1          0176-PH-3400577-GJ_0000001_1A0000008_0000001.pdf
        1          0176-PH-3400577-GJ_0000001_Import.pdf
        2          0176-PH-3400577-GJ_0000002.pdf
        2          0176-PH-3400577-GJ_0000002_1A0000010_0000001.pdf
        2          0176-PH-3400577-GJ_0000002_Import.pdf
        3          0176-PH-3400577-GJ_0000003.pdf
        3          0176-PH-3400577-GJ_0000003_1A0000011_0000001.pdf
        3          0176-PH-3400577-GJ_0000003_Import.msg
        4          0176-PH-3400577-GJ_0000004.pdf
        4          0176-PH-3400577-GJ_0000004_Import.pdf
        5          0176-PH-3400577-GJ_0000005.pdf
        5          0176-PH-3400577-GJ_0000005_1A0000013_0000001.zip                Yes
        5          0176-PH-3400577-GJ_0000005_1A0000013_0000002.msg                Yes
        5          0176-PH-3400577-GJ_0000005_1A0000013_0000003.xlsx               Yes
        5          0176-PH-3400577-GJ_0000005_1A0000013_0000004.pdf                Yes
        5          0176-PH-3400577-GJ_0000005_Import.pdf                           Yes
        6          0176-PH-3400577-GJ_0000006.pdf                                  Yes
        6          0176-PH-3400577-GJ_0000006_Import.xlsx                          Yes
        7          0176-PH-3400577-GJ_0000007.pdf                                  Yes
Case 1:21-cr-00175-TJK Document 285-18 Filed 02/07/22 Page 4 of 4




 7      0176-PH-3400577-GJ_0000007_1A0000014_0000001.pdf    Yes
 7      0176-PH-3400577-GJ_0000007_Import.pdf               Yes
 8      0176-PH-3400577-GJ_0000008.pdf                      Yes
 8      0176-PH-3400577-GJ_0000008_1A0000015_0000001.zip    Yes
 8      0176-PH-3400577-GJ_0000008_Import.pdf               Yes
 9      0176-PH-3400577-GJ_0000009.pdf                      Yes
 9      0176-PH-3400577-GJ_0000009_1A0000016_0000001.pdf    Yes
 9      0176-PH-3400577-GJ_0000009_Import.xlsx              Yes
10      0176-PH-3400577-GJ_0000010.pdf                      Yes
10      0176-PH-3400577-GJ_0000010_Import.msg               Yes
11      0176-PH-3400577-GJ_0000011.pdf                      Yes
11      0176-PH-3400577-GJ_0000011_Import.zip               Yes
12      0176-PH-3400577-GJ_0000012.pdf
12      0176-PH-3400577-GJ_0000012_1A0000017_0000001.pdf
12      0176-PH-3400577-GJ_0000012_1A0000017_0000002.zip
12      0176-PH-3400577-GJ_0000012_1A0000017_0000003.msg




                                 2
